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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                              :
                                                      :
                                                      :
        v.                                            :       Case No.: 21-cr-382 PLF
                                                      :
CHRISTOPHER WARNAGIRIS,                               :
                                                      :
                                                      :
             Defendant.                               :

              UNITED STATES’ UNOPPOSED MOTION TO CONTINUE AND
                   TO EXCLUDE TIME UNDER THE SPEEDY TRIAL
                 ACT AND MOTION TO CONTINUE STATUS HEARING

       The United States of America hereby moves this Court for a 90-day continuance of the

status conference set for May 20, 2022, and to exclude the time within which the trial must

commence under the Speedy Trial Act, 18 U.S.C. § 3161 et seq., on the basis that the ends of

justice served by taking such actions outweigh the best interest of the public and the defendant in

a speedy trial pursuant to the factors described in 18 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and (iv)

from the date this Court enters an Order on this motion through and including the date of the next

hearing. In support of its motion, the Government states as follows:

                                  FACTUAL BACKGROUND

       Defendant remains charged in a nine-count indictment with violating 18 U.S.C. §

231(a)(3), Civil Disorder; 18 U.S.C. § 1512(c)(2), 2, Obstruction of an Official Proceeding; 18

U.S.C. §§ 111(a)(1), Assaulting, Resisting, or Impeding Certain Officers; 18 U.S.C. § 1752(a)(1),

Entering and Remaining in a Restricted Building or Grounds; 18 U.S.C. § 1752(a)(2), Disorderly

and Disruptive Conduct in a Restricted Building or Grounds; 18 U.S.C. § 1752(a)(4), Engaging in

Physical Violence in a Restricted Building or Grounds; 40 U.S.C. § 5104(e)(2)(D), Disorderly

Conduct in a Capitol Building; 40 U.S.C. § 5104(e)(2)(F), Act of Physical Violence in the Capitol
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Grounds or Buildings; and 40 U.S.C. § 5104(e)(2)(G), Parading, Demonstrating, or Picketing in a

Capitol Building. United States Capitol on January 6, 2021. The Government seeks a continuance

for the following reasons: (1) the United States continues to provide some individualized discovery

to Defendant, as well as global discovery generated from other sources; (2) the parties have

recently begun plea negotiations in an attempt to resolve this matter pretrial; and (3) failing

successful plea negotiations and taking into account the exercise of due diligence, the Defendant

and the Government will need reasonable time necessary to prepare for trial.

       Since the prior hearing, the Government has provided a substantial portion of the most

relevant, individualized discovery to counsel. However, it is continuing to provide additional

individual discovery, and did so as recently as today. The Government is continuing to provide

global discovery in the form of evidence from other charged defendants’ devices, social media

accounts, and other sources which has not yet been identified or examined. Thus, the Government

seeks additional time to disclose discovery, allow counsel time to review and consider that

discovery, and to engage in plea negotiations that could result in an agreeable plea that would

preserve judicial resources.

                                         ARGUMENT

       Section 3161(h) of the Speedy Trial Act sets forth certain periods of delay which the Court

must exclude from the computation of time within which a trial must commence. As is relevant

to this motion for a continuance, pursuant to subsection (h)(7)(A), the Court must exclude:

       Any period of delay resulting from a continuance granted by any judge on his own
       motion or at the request of the defendant or his counsel or at the request of the
       attorney for the Government, if the judge granted such continuance on the basis of
       his findings that the ends of justice served by taking such action outweigh the best
       interest of the public and the defendant in a speedy trial.

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18 U.S.C. § 3161(h)(7)(A). This provision further requires the Court to set forth its reasons for

finding that that any ends-of-justice continuance is warranted. Id. Subsection (h)(7)(B) sets forth

a non-exhaustive list factors that the Court must consider in determining whether to grant an ends-

of-justice continuance, including:

       (i)     Whether the failure to grant such a continuance in the proceeding would
               be likely to make a continuation of such proceeding impossible, or result
               in a miscarriage of justice.

       (ii)    Whether the case is so unusual or so complex, due to the number of
               defendants, the nature of the prosecution, or the existence of novel
               questions of fact or law, that it is unreasonable to expect adequate
               preparation for pretrial proceedings or for the trial itself within the time
               limits established by this section.
               ...

       (iv)    Whether the failure to grant such a continuance in a case which, taken as a
               whole, is not so unusual or so complex as to fall within clause (ii), would
               deny the defendant reasonable time to obtain counsel, would unreasonably
               deny the defendant or the Government continuity of counsel, or would
               deny counsel for the defendant or the attorney for the Government the
               reasonable time necessary for effective preparation, taking into account
               the exercise of due diligence.

18 U.S.C. § 3161(h)(7)(B)(i)(ii) and (iv). Importantly, “[i]n setting forth the statutory factors that

justify a continuance under subsection (h)(7), Congress twice recognized the importance of

adequate pretrial preparation time.” Bloate v. United States, 559 U.S. 196, 197 (2010) (citing

§3161(h)(7)(B)(ii), (B)(iv)). Finally, an interests-of-justice finding is within the discretion of the

Court. See, e.g., United States v. Rojas-Contreras, 474 U.S. 231, 236 (1985); United States v.

Hernandez, 862 F.2d 17, 24 n.3 (2d Cir. 1988).

       In this case, an ends-of-justice continuance is warranted under 18 U.S.C. § 3161(h)(7)(A)

based on the factors described in 18 U.S.C. § 3161(h)(7)(B)(i)(ii) and (iv). The need for a

reasonable time to organize, produce, and review voluminous discovery is among multiple pretrial
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preparation grounds that Courts of Appeals have routinely held sufficient to grant continuances

and exclude the time under the Speedy Trial Act. See, e.g., United States v. Bikundi, 926 F.3d 761,

777-78 (D.C. Cir. 2019). The parties would like to engage in continued plea conversations and

negotiations and request additional time to engage in those discussions. Accordingly, the ends of

justice served by granting a request for a continuance outweigh the best interest of the public and

Defendant in a speedy trial.

       Government counsel notified Defendant’s counsel of the filing of this motion, and she

consents on behalf of her client to the motion.

       WHEREFORE, the Government respectfully requests that this Court grant the motion to

continue the Status Hearing set for May 20, 2022 and for an additional 90 days from the date this

Court enters an Order on this motion through and including the date of the next hearing, and that

the Court exclude the time within which the trial must commence under the Speedy Trial Act, 18

U.S.C. § 3161 et seq., on the basis that the ends of justice served by taking such actions outweigh

the best interest of the public and Defendant in a speedy trial pursuant to the factors described in

18 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and (iv).




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                             Respectfully submitted,

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